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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                 Plaintiff,                      )
                                                 )
           v.                                    )     No.
                                                 )
$3,000,000.00 IN FUNDS VOLUNTARILY               )
TURNED OVER FOR SEIZURE BY                       )
BLACKFOREST REAL ESTATE                          )
ADVISORS LLC;                                    )
                                                 )
                 Defendant.                      )

                         WARRANT FOR ARREST OF PROPERTY

TO: THE UNITED STATES MARSHAL AND/OR ANY OTHER DULY AUTHORIZED
    LAW ENFORCEMENT OFFICER FOR THE EASTERN DISTRICT OF MISSOURI

     Whereas, on December 23, 2024, the United States of America filed a Verified Complaint

for Civil Forfeiture in the United States District Court for the Eastern District of Missouri,

against the above-named defendant property, alleging that said property is subject to seizure and

civil forfeiture to the United States for the reasons mentioned in the complaint; and

     WHEREAS, the defendant property is currently in the possession, custody, or control of

the United States; and

     WHEREAS, in these circumstances, Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the arrest of the defendant property; and

     WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it;

     NOW THEREFORE, you are hereby commanded to arrest the above-named defendant

property by serving a copy of this warrant on the custodian in whose possession, custody, or
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control the property is presently found, and to use whatever means may be appropriate to protect

and maintain it in your custody until further order of this Court,

     YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

                                                NATHAN M. GRAVES, CLERK
                                                United States District Court


                                        By:
                                                Deputy Clerk

                                        Date:
